                              UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF KANSAS

        IN RE:                                  }        CASE NUMBER
                                                }
                                                }        08-20645-11
ETHANEX ENERGY, INC.,                           }
                                                }
        DEBTOR.                                 }        CHAPTER 11


             DEBTOR'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)

                                      FOR THE PERIOD
                          FROM 10/01/13         TO _10/31/13__________

Comes now the above-named debtor and files its Monthly Operating Reports in accordance with the
Guidelines established by the United States Trustee and FRBP 2015.

                                                         Eric C. Rajala, Chapter 11 Trustee

                                                         s/ Eric C. Rajala
                                                         Attorney for Debtor’s Signature
                                                         11900 College Boulevard, Ste. 341
                                                         Overland Park, KS 66210-3939
                                                         (913) 339-9806
Debtor's Address                                         Attorney's Address
and Phone Number:                                        and Phone Number:




Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
provided to the United States Trustee Office. Monthly Operating Reports must be filed by the 21st day of
the following month.

For assistance in preparing the Monthly Operating Report, refer to the following resources on the United
States Trustee Program Website, http://www.justice.gov/ust/r20/index.htm.
1)      Instructions for Preparations of Debtor’s Chapter 11 Monthly Operating Report
2)      Initial Filing Requirements
3)      Frequently Asked Questions (FAQs)




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                         SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                   FOR THE PERIOD BEGINNING 10/01/13 AND ENDING 10/31/13

Name of Debtor: Ethanex Energy, Inc.                   Case Number 08-20645-11
Date of Petition:
                                                           CURRENT           CUMULATIVE
                                                            MONTH          PETITION TO DATE

1. FUNDS AT BEGINNING OF PERIOD                           6,008,181.70 (a)                -0-           (b)
2. RECEIPTS:
       A. Cash Sales
           Minus: Cash Refunds                            (-)
           Net Cash Sales
       B. Accounts Receivable
       C. Other Receipts (See MOR-3)
       (If you receive rental income,
          you must attach a rent roll.)
3. TOTAL RECEIPTS (Lines 2A+2B+2C)                                  0.00
4. TOTAL FUNDS AVAILABLE FOR
   OPERATIONS (Line 1 + Line 3)                             6,008,181.70

5. DISBURSEMENTS
       A. Advertising
       B. Bank Charges
       C. Contract Labor
       D. Fixed Asset Payments (not incl. in “N”)
       E. Insurance
       F. Inventory Payments (See Attach. 2)
       G. Leases
       H. Manufacturing Supplies
       I. Office Supplies
       J. Payroll - Net (See Attachment 4B)
       K. Professional Fees (Accounting & Legal)
       L. Rent
       M. Repairs & Maintenance
       N. Secured Creditor Payments (See Attach. 2)
       O. Taxes Paid - Payroll (See Attachment 4C)
       P. Taxes Paid - Sales & Use (See Attachment 4C)
       Q. Taxes Paid - Other (See Attachment 4C)
       R. Telephone
       S. Travel & Entertainment
       Y. U.S. Trustee Quarterly Fees
       U. Utilities
       V. Vehicle Expenses
       W. Other Operating Expenses (See MOR-3)
6. TOTAL DISBURSEMENTS (Sum of 5A thru W)                     0.00
7. ENDING BALANCE (Line 4 Minus Line 6)                6,008,181.70          (c)       6,008,181.70           (c)

I declare under penalty of perjury that this statement and the accompanying documents and reports are true
and correct to the best of my knowledge and belief.

This 20th       day of November                 , 2013.                 s/ Eric C. Rajala
                                                                        (Signature)
(a)This number is carried forward from last month’s report. For the first report only, this number will be the
   balance as of the petition date.
(b)This figure will not change from month to month. It is always the amount of funds on hand as of the date of
   the petition.
(c)These two amounts will always be the same if form is completed correctly.
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                MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont’d)

                             Detail of Other Receipts and Other Disbursements

OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2, Line 2C.

                                                                               Cumulative
        Description                                  Current Month            Petition to Date




TOTAL OTHER RECEIPTS                              ______       0.00           __6,008,181.70______ _

“Other Receipts” includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties
directors, related corporations, etc.). Please describe below:

                             Source
 Loan Amount                of Funds                       Purpose                   Repayment Schedule




OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR-2, Line
5W.
                                                                            Cumulative
        Description                                Current Month             Petition to Date




TOTAL OTHER DISBURSEMENTS                         ______________ ______________ _




NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement.




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                                                 ATTACHMENT 1

            MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Name of Debtor:       Ethanex Energy, Inc.             Case Number: 08-20645-11

Reporting Period beginning       10/01/13                                Period ending         10/31/13


ACCOUNTS RECEIVABLE AT PETITION DATE:


                          ACCOUNTS RECEIVABLE RECONCILIATION
(Include all accounts receivable, pre-petition and post-petition, including charge card sales which have
not been received):

          Beginning of Month Balance                          $                          (a)
            PLUS: Current Month New Billings
            MINUS: Collection During the Month                $                          (b)
            PLUS/MINUS: Adjustments or Writeoffs              $                           *
          End of Month Balance                                $                          (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:



                         POST PETITION ACCOUNTS RECEIVABLE AGING
                      (Show the total for each aging category for all accounts receivable)

          0-30 Days         31-60 Days           61-90 Days           Over 90Days Total

      $                    $                 $                    $                      $                (c)


For any receivables in the “Over 90 Days” category, please provide the following:

                           Receivable
   Customer                 Date             Status (Collection efforts taken, estimate of collectibility,
                                             write-off, disputed account, etc.)




(a)This number is carried forward from last month’s report. For the first report only, this number will be
   the balance as of the petition date.
(b)This must equal the number reported in the “Current Month” column of Schedule of Receipts and
    Disbursements (Page MOR-2, Line 2B).
(c)These two amounts must equal.




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                                                ATTACHMENT 2

                MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Name of Debtor:    Ethanex Energy, Inc.                Case Number: 08-20645-11

Reporting Period beginning 10/01/13                                 Period ending 10/31/13

In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include
amounts owed prior to filing the petition. In the alternative, a computer generated list of payables may be attached
provided all information requested below is included.

                                   POST-PETITION ACCOUNTS PAYABLE
 Date               Days
Incurred          Outstanding          Vendor                  Description                           Amount




TOTAL AMOUNT                                                                                                       (b)

X    Check here if pre-petition debts have been paid. Attach an explanation and copies of supporting
    documentation.

              ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only)

Opening Balance                                       $                                  (a)
  PLUS: New Indebtedness Incurred This Month          $
  MINUS: Amount Paid on Post Petition,
          Accounts Payable This Month                 $
  PLUS/MINUS: Adjustments                             $                                  *
Ending Month Balance                                  $                                 (c)

*For any adjustments provide explanation and supporting documentation, if applicable.




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                                        SECURED PAYMENTS REPORT
List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a
modification agreement with a secured creditor/lessor, consult with your attorney and the United States Trustee
Program prior to completing this section).

                                                                                                             Number
                                                                                                     Total
                                        Date                                      of Post             Amount of
Secured                                 Payment             Amount                Petition            Post Petition
Creditor/                               Due This            Paid This             Payments            Payments
Lessor                                  Month               Month                 Delinquent          Delinquent




TOTAL                                                                       (d)

(a)This number is carried forward from last month’s report. For the first report only, this number will be zero.
(b, c)The total of line (b) must equal line (c).
(d)This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).




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                                                 ATTACHMENT 3

                                 INVENTORY AND FIXED ASSETS REPORT

Name of Debtor:        Ethanex Energy, Inc.                     Case Number: 08-20645-11

Reporting Period beginning                                      Period ending

                                              INVENTORY REPORT

INVENTORY BALANCE AT PETITION DATE:                            $
INVENTORY RECONCILIATION:
      Inventory Balance at Beginning of Month                   $                                      (a)
        PLUS: Inventory Purchased During Month $
        MINUS: Inventory Used or Sold                           $
        PLUS/MINUS: Adjustments or Write-downs                  $                                      *
      Inventory on Hand at End of Month        $

METHOD OF COSTING INVENTORY:

*For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

                                               INVENTORY AGING

         Less than 6       6 months to        Greater than      Considered
         months old        2 years old        2 years old       Obsolete      Total Inventory

                  %                   %                  %                %       =               100%*

* Aging Percentages must equal 100%.
    Check here if inventory contains perishable items.

Description of Obsolete Inventory:

                                              FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE:                                            (b)
(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION (First Report Only):

FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month                    $                                  (a)(b)
        MINUS: Depreciation Expense                             $
        PLUS: New Purchases                                     $
        PLUS/MINUS: Adjustments or Write-downs                  $                                  *
Ending Monthly Balance                                          $

*For any adjustments or write-downs, provide explanation and supporting documentation, if applicable.

BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING
PERIOD:

(a)This number is carried forward from last month’s report. For the first report only, this number will be the
   balance as of the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions.
   Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.

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                                               ATTACHMENT 4A

                 MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor: Ethanex Energy, Inc.                          Case Number: 08-20645-11

Reporting Period beginning 10/01/13                                   Period ending 10/31/13

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.justice.gov/ust/r20/index.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK:         Rabobank                                   BRANCH:

ACCOUNT NAME: Ethanex Energy, Inc.                                 ACCOUNT NUMBER: 5007075166

PURPOSE OF ACCOUNT:                  TRUSTEE’S FIDUCIARY CHECKING ACCOUNT

        Ending Balance per Bank Statement                              $ 6,008,181.70
        Plus Total Amount of Outstanding Deposits                      $
        Minus Total Amount of Outstanding Checks and other debits      $                          *
        Minus Service Charges                                          $
        Ending Balance per Check Register                              $ 6,008,181.70              **(a)

*Debit cards are used by

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment
4D: ( Check here if cash disbursements were authorized by United States Trustee)

 Date         Amount             Payee                Purpose                  Reason for Cash Disbursement




                   TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                           $________________Transferred to Payroll Account
                           $________________Transferred to Tax Account




(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).
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                                      ATTACHMENT 5A

                      CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor:       Ethanex Energy, Inc.            Case Number: 08-20645-11

Reporting Period beginning 10/01/31                             Period ending 10/31/13

NAME OF BANK: Rabobank                                          BRANCH:

ACCOUNT NAME: Ethanex Energy, Inc.

ACCOUNT NUMBER:            5007075166

PURPOSE OF ACCOUNT:                    TRUSTEE’S FIDUCIARY CHECKING ACCOUNT

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

          CHECK
DATE      NUMBER           PAYEE                    PURPOSE                         AMOUNT




TOTAL                                                                              $


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                                              ATTACHMENT 4B

              MONTHLY SUMMARY OF BANK ACTIVITY - PAYROLL ACCOUNT

Name of Debtor:                                                Case Number:

Reporting Period beginning                                       Period ending

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity.
A standard bank reconciliation form can be found at http://www.justice.gov/ust/r20/index.htm.

NAME OF BANK:                                             BRANCH:

ACCOUNT NAME:                                             ACCOUNT NUMBER:
PURPOSE OF ACCOUNT:                      PAYROLL

        Ending Balance per Bank Statement                                       $
         Plus Total Amount of Outstanding Deposits                              $
         Minus Total Amount of Outstanding Checks and other debits              $                         *
         Minus Service Charges                                                  $
        Ending Balance per Check Register                                       $                         **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:
The following disbursements were paid by Cash: ( Check here if cash disbursements were authorized
by United States Trustee)

Date         Amount            Payee                 Purpose           Reason for Cash Disbursement




The following non-payroll disbursements were made from this account:

Date      Amount            Payee      Purpose                    Reason for disbursement from this
                                                               account




(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




                                             ATTACHMENT 5B
                                                     MOR-10
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                        CHECK REGISTER - PAYROLL ACCOUNT


Name of Debtor:                                         Case Number:

Reporting Period beginning                              Period ending

NAME OF BANK:                                           BRANCH:

ACCOUNT NAME:

ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                    PAYROLL

Account for all disbursements, including voids, lost payments, stop payment, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

        CHECK
DATE    NUMBER             PAYEE                        PURPOSE                         AMOUNT




TOTAL                                                                               $




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                                               ATTACHMENT 4C

                     MONTHLY SUMMARY OF BANK ACTIVITY - TAX ACCOUNT

Name of Debtor:                                                  Case Number:

Reporting Period beginning                                       Period ending

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found on the United States Trustee website,
http://www.justice.gov/ust/r20/index.htm.

NAME OF BANK:                                        BRANCH:

ACCOUNT NAME:                                        ACCOUNT NUMBER:

PURPOSE OF ACCOUNT:                   TAX

        Ending Balance per Bank Statement                         $
         Plus Total Amount of Outstanding Deposits                $
         Minus Total Amount of Oustanding Checks and other debits $                          *
         Minus Service Charges                                    $
        Ending Balance per Check Register               $                            **(a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:


The following disbursements were paid by Cash: (      Check here if cash disbursements were authorized by
                                                      United States Trustee)
Date      Amount              Payee                Purpose                Reason for Cash Disbursement




The following non-tax disbursements were made from this account:

Date      Amount              Payee                 Purpose            Reason for disbursement from this account




(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                       ATTACHMENT 5C

                            CHECK REGISTER - TAX ACCOUNT


Name of Debtor:                                            Case Number:

Reporting Period beginning                                  Period ending

NAME OF BANK:                                          BRANCH:

ACCOUNT NAME:                                          ACCOUNT #

PURPOSE OF ACCOUNT:                    TAX

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer-generated check register can be attached to this report, provided all the
information requested below is included.

     CHECK
DATE NUMBER                PAYEE                  PURPOSE                     AMOUNT




TOTAL                                                                                             (d)
                                  SUMMARY OF TAXES PAID

Payroll Taxes Paid                                                                                (a)
Sales & Use Taxes Paid                                                                            (b)
Other Taxes Paid                                                                                  (c)
TOTAL                                                                                             (d)


(a) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 5O).
(b) This number is reported in the “Current Month” column of Schedule or Receipts and Disbursements
    (Page MOR-2, Line 5P).
(c) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
    (Page MOR-2, Line 5Q).
(d) These two lines must be equal.


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                                     ATTACHMENT 4D

                INVESTMENT ACCOUNTS AND PETTY CASH REPORT

                             INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks
and bonds, etc., should be listed separately. Attach copies of account statements.

Type of Negotiable
                                                                                      Current
Instrument            Face Value        Purchase Price     Date of Purchase          Market Value




TOTAL                                                                                           (a)
                                   PETTY CASH REPORT

The following Petty Cash Drawers/Accounts are maintained:

                      (Column 2)             (Column 3)               (Column 4)
                      Maximum                Amount of Petty    Difference between
Location of           Amount of Cash         Cash On Hand (Column 2) and
Box/Account           in Drawer/Acct.        At End of Month    (Column 3)




TOTAL                                        $                 (b)

For any Petty Cash Disbursements over $100 per transaction, attach copies of receipts. If
there are no receipts, provide an explanation




TOTAL INVESTMENT ACCOUNTS AND PETTY CASH(a + b)                           $
(c)

(c)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the
   amount reported as “Ending Balance” on Schedule of Receipts and Disbursements (Page
   MOR-2, Line 7).

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                                      ATTACHMENT 6

                                 MONTHLY TAX REPORT

Name of Debtor:                                            Case Number:

Reporting Period beginning                                 Period ending

                                  TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales
tax, property tax, unemployment tax, State workmen's compensation, etc.

Name of               Date                                          Date Last
Taxing                Payment                                       Tax Return      Tax Return
Authority             Due          Description           Amount       Filed           Period




TOTAL                                                $




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                                                  ATTACHMENT 7

                           SUMMARY OF OFFICER OR OWNER COMPENSATION

                       SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

Name of Debtor:                                              Case Number:

Reporting Period beginning                                    Period ending

Report all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include
car allowances, payments to retirement plans, loan repayments, payments of Officer/Owner’s personal expenses,
insurance premium payments, etc. Do not include reimbursement for business expenses Officer or Owner incurred
and for which detailed receipts are maintained in the accounting records.
                                                               Payment
Name of Officer or Owner Title                        Description                Amount Paid




                                              PERSONNEL REPORT
                                                                           Full Time          Part Time
Number of employees at beginning of period
Number hired during the period
Number terminated or resigned during period
Number of employees on payroll at end of period

                                       CONFIRMATION OF INSURANCE

List all policies of insurance in effect, including but not limited to workers' compensation, liability, fire, theft,
comprehensive, vehicle, health and life. For the first report, attach a copy of the declaration sheet for each type of
insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during
the month (new carrier, increased policy limits, renewal, etc.).

Agent                                                                                        Date
and/or                     Phone               Policy            Coverage          Expiration          Premium
Carrier                    Number              Number     Type                Date            Due




The following lapse in insurance coverage occurred this month:

Policy            Date               Date
Type              Lapsed             Reinstated         Reason for Lapse




G          Check here if U. S. Trustee has been listed as Certificate Holder for all insurance policies.

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                                                  ATTACHMENT 8


                     SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not
reported on this report, such as the sale of real estate (attach closing statement); (2) non-financial transactions, such
as the substitution of assets or collateral; (3) modifications to loan agreements; (4) change in senior management,
etc. Attach any relevant documents.




We anticipate filing a Plan of Reorganization and Disclosure Statement on or before         12/31/2013
.


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                                                                                                          Period Covered:
                                                                                      October 01, 2013 - October 31, 2013
                                                                                                               Page 1 of 2



                                                                          Case Number:                        08-20645-11
                                                                          Case Name:                    Ethanex Energy, Inc
                                                                          Trustee Number:                      0000360010
             Eric C Rajala
                                                                          Trustee Name:                       Eric C Rajala
             11900 College Blvd.
             Suite 341



                                                                                                              (
             Overland Park KS 66210

                                                                                                               Questions
                                                                                                    (800) 634-7734, ext. 8
                                                                                             bmsbankingcenter@bms7.com
                                                                                                www.bmsadvantage.com




Consolidated Balance Summary
                                                           Maturity             Ending Balance            Ending Balance
Account                               Number                Date                   Prior Period               This Period
Checking Account
   TRUSTEE CHECKING                   5007075166                                  $6,008,181.70             $6,008,181.70
Total                                                                             $6,008,181.70             $6,008,181.70


Notable Information For You...

It's important to ensure that your bank accounts are reconciled each month. The Bank Reconciliation Tool in CaseLink Office
and CaseLink Web makes the process easy by highlighting differences between the bank's month-end balance and that
calculated in the ledger in your BMS software.

Rabobank will be closed Nov. 11 in observance of Veteran's Day; however, the BMS Banking Center will be open. Rabobank
and BMS will both be closed on Nov. 28 in observance of Thanksgiving. All transactions will be posted the following
business day for each holiday.




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                                                                                Account Number:            5007075166

                                                                                                       Period Covered:
                                                                                   October 01, 2013 - October 31, 2013
                                                                                                            Page 2 of 2



                                                                       Case Number:                       08-20645-11
                                                                       Case Name:                   Ethanex Energy, Inc
                                                                       Trustee Number:                     0000360010
            Eric C Rajala
                                                                       Trustee Name:                      Eric C Rajala
            11900 College Blvd.
            Suite 341



                                                                                                         (
            Overland Park KS 66210

                                                                                                           Questions
                                                                                                (800) 634-7734, ext. 8
                                                                                         bmsbankingcenter@bms7.com
                                                                                            www.bmsadvantage.com




Trustee Checking
Account number                            5007075166          Beginning balance                          $6,008,181.70
Avg collected balance                   $6,008,181.00         Total additions                                    $0.00
                                                              Total subtractions                                 $0.00
                                                              Ending balance                             $6,008,181.70

                                        **No activity this statement period**




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